                   Case 1:21-cv-07955-LAK           Document 18          Filed 09/28/21          Page 1 of 1
AO 458 (Rev. 06/09) Appearance ofCounsel


                                    UNITED STATES DISTRICT COURT
                                                            for the
                                              Southern District of New York        EJ
                  Marvel Characters, Inc.                     )
                            Plaintiff                         )
                              V.                              )       Case No.    1:21-cv-7955
                             Lieber                           )
                           Defendant                          )

                                             APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Marvel Characters Inc.


Date:         09/28/2021                                                                /s/ Danielle R. Feuer
                                                                                         Attorney's signature


                                                                             Danielle R. Feuer, admitted pro hac vice
                                                                                     Printed name and bar number
                                                                                     O'Melveny & Myers LLP
                                                                                 400 South Hope Street, 18th Floor
                                                                                      Los Angeles, CA 90071


                                                                                              A ddress

                                                                                         dfeuer@omm.com
                                                                                           E-mail address

                                                                                          (213) 430-6069
                                                                                          Telephone number

                                                                                          (213) 430-6407
                                                                                            FAXnumber
